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 JS 44 (Rev. 12/11)     District of Colorado Form                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a)                                                                                                       DEFENDANTS
          PLAINTIFFS
                                                                                                             Swan Global Investments, LLC
          Brookstone Capital Management, LLC and
          Dean Zayed

                                                                                                             County of Residence of First Listed Defendant La Plata County, Colorado
   (b) County of Residence of First Listed PlaintiffDtlPage County, Illinois                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                     TRACT OF LAND INVOLVED.

   (C)     Attorneys (Firm Name. Address, and Telephone Number)                                               Attorneys (If Known)
          Kevin D. Evans, Armstrong Teasdale LLP                                                             Robert C. Blume, M. Scott Campbell, Gibson, Dunn & Crutcher LLP
          4643 South Ulster Street, Suite 800, Denver, CO 80237                                              1801 California Street, Suite 4200, Denver, CO 80202
          (720) 200-0676                                                                                     (303) 298-5700

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                              and One Box for Defendant)

•'       U S. Government
           Plaintiff
                                       [~j 3 Federal Question
                                                (U.S. Government Not a Party)                       Citizen of This State
                                                                                                                                  PTF
                                                                                                                                  fl 1
                                                                                                                                                   DEF
                                                                                                                                                   PI1        IncorP°ra,ed °r Principal Place
                                                                                                                                                                                                              DEF

                                                                                                                                                              of Business In This State


•    2 U.S. Government
         Defendant
                                            4 Diversity
                                                 (Indicate Citizenship of Parties in Item 111)
                                                                                                    Citizen of Another State          0] 2         [   12     Incorporated and Principal Place
                                                                                                                                                              of Business In Another State
                                                                                                                                                                                                   05         ns

                                                                                                    Citizen or Subject of a           ["""I 3     | j3        Foreign Nation                       •6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)
           CONTRACT                                              TORTS                                FORFEITURE/PENALTY                               BANKRUPTCY                         OTHER STATUTES
•110 Insurance                           PERSONAL INJURY                  PERSONAL INJURY           D 625 Drug Related Seizure   • 422 Appeal 28 USC 158                              375 False Claims Act
•120 Marine                           ^^310 Airplane                  P~| 365 Persona] Injury -           of Property 21 USC 881 | | 423 Withdrawal                                   400 State Reapportionment
| | 130 Miller Act                 P~| 315 Airplane Product              Product Liability                                               28 USC 157                                   410 Antitrust
P| 140 Negotiable Instrument
                                            Liability           0 367 Health Care/                  0690 Other
                                                                                                                                                                                      430 Banks and Banking
                                   P*"| 320 Assault, Libel &            Pharmaceutical                                                           PROPERTY RIGHTS
P"] 150 Recovery of Overpayment             Slander                                                                                                                                   450 Commerce
                                                                        Personal Injury                                                         "J 820 Copyrights
     & Enforcement of Judgment •330 Federal Employers'
                                                                        Product Liability                                                       H 830 Patent                          460 Deportation
n 151 Medicare Act                          Liability                                                                                            j 840 Trademark
                                                                • 368 Asbestos Personal                                                                                               470 Racketeer Influenced and
| |152 Recovery of Defaulted       •    340 Marine
                                                                     Injury Product Liability                                                                                               Corrupt Organizations
    Student Loans (Excl. Veterans) | 1345 Marine Product
                                                                                                         uA6k
                                                                 PERSONAL PROPERTY ^]710 Fair Labor Standards                                                                         480 Consumer Credit
P"] 153 Recovery of Overpayment             Liability                                                                                             861 HIA(1395ff)
                                   P~| 350 Motor Vehicle        | |370 Other Fraud                   Act
       of Veteran's Benefits                                                                                                                      862 Black Lung (923)                490 Cable/Sat TV
                                   P~| 355 Motor Vehicle        | | 371 Truth in Lending      0 720 Labor/Mgmt. Relations
    160 Stockholders' Suits                                                                                                                       863 DIWC/DIWW (405(g))              850 Securities/Commodities/
                                            Product Liability   • 380 Other Personal
    190 Other Contract                                                                        0 740 Railway Labor Act                             864 SSID Title XVI                      Exchange
                                   PI 360 Other Personal Injury         Property Damage                                                                                               890 Other Statutory Actions
    195 Contract Product Liability                                                            | |751 Family and Medical                           865 RSI (405(g))
                                   P""| 362 Personal Injury -   [""I 385 Property Damage             Leave Act                                                                        891 Agricultural Acts
    1% Franchise                            Medj_Mal£ractice^_          Product Liability
                                                                 PRISONER PErmONS \ 1790 Other Labor Litigation                                        TAX SUITS                      893 Environmental Matters
       REAL PROPERTY                    CIVIL RIGHTS
    210 Land Condemnation              {0 440 Other Civil Rights           Habeas Corpus:           | 1791 Empl. Ret Inc.                                                             895 Freedom of Information Act
                                                                                                                                            0 870 Taxes (U.S. Plaintiff
    220 Foreclosure                    ^]441 Voting                    n 463 Alien Detainee                Security Act                           or Defendant)                       8% Arbitration
    230 Rent Lease & Ejectment         0 442 Employment               • 510 Motions to Vacate                                               0871 IRS-Third Party                      899 Administrative Procedure
                                                                         Sentence                                                                 26 USC 7609                            Act/Review or Appeal of
    240 Torts to Land                 | j 443 Housing/                                                      IMMIGRATION
                                                                      • 530 General                                                                                                      Agency Decision
    245 Tort Product Liability               Accommodations
                                          445 Amer. w/Disabilities | |535 Death Penalty             0462 Naturalization Applicatioi                                                   950 Constitutionality of
     290 All Other Real Property
                                             Employment               Other:                        Q^465 Other Immigration                                                              State Statutes
                                      1 1446 Amer. w/Disabilities | j 540 Mandamus & Other                Actions
                                             Other
                                                                  | | 550 Civil Rights
                                      | | 448 Education
                                                                  • 555 Prison Condition
                                                                       n 560 Civil Detainee -
                                                                        Conditions of Confinement
 v. ORIGIN                 (Place an "X" in One Box Only)                                                                                                                                     Appeal to District
 fx] 1 Original                  2 Removed from           Q3 3 Remanded from         Q 4 Reinstated or           O ^ MMher d^str^ct™ f—1 6 Multidistrict                                  • 7 Judge from
         Proceeding                State Court                   Appellate Court         Reopened                         (specify)                       Litigation                          Magistrate Judgment
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            9 USC 9
 VI. CAUSE OF ACTION Brief description of cause:                                                    Q] AP Docket

                                            Petition to confirm final arbitration award.

 VII. REQUESTED IN                         • CHECK IF THIS IS A CLASS ACTION                                                                                CHECK YES only if demanded in complaint:
      COMPLAINT:                             UNDER F R C P. 23              DEMAND $1,799,082.85 plus                                                       JURY DEMAND:            0 Yes        0 No

DATE                                                                          [ATURE OF ATTORNEY OF RECORD

02/07/2018

 FOR OFFICE USE ONLY

   RECEIPT #                       AMOUNT                                    APPLYING IFP                                     JUDGE                                   MAG. JUDGE
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     JS 44 Reverse (Rev. 12/11) District ofColorado Form
                          INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required
for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each
civil complaint filed. The attorney filing a case should complete the form as follows.

I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.

        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the "defendant" is the location of the tract of land involved.)

        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment noting,
noting in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings.    Place an "X" in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box


Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than on e nature
of suit, select the most definitive.

V.        Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause.     Do not cite jurisdictional
statutes unless diversity.            Example:                            U.S. Civil Statute: 47 USC 553
                                      Brief Description:                   Unauthorized reception of cable service
                                               Or:                         "AP Docket"


VII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.

Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
